 8:10-cr-00193-LSC-SMB              Doc # 24    Filed: 06/17/10      Page 1 of 1 - Page ID # 32



                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                          )
                                                   )                   8:10CR193
                       Plaintiff,                  )
                                                   )
       vs.                                         )                     ORDER
                                                   )
JOHN N. GRIFFY,                                    )
                                                   )
                       Defendant.                  )



       This matter is before the court on the motion for an extension of time by defendant John N.

Griffy (Griffy) (Filing No. 23). Griffy seeks until July 2, 2010, in which to file pretrial motions in

accordance with the progression order. Griffy's counsel represents that Griffy will file an affidavit

wherein he consents to the motion and acknowledges he understands the additional time may be

excludable time for the purposes of the Speedy Trial Act.           Griffy's counsel represents that

government's counsel has no objection to the motion. Upon consideration, the motion will be granted



       IT IS ORDERED:

       Defendant Griffy's motion for an extension of time (Filing No. 23) is granted. Griffy is given

until on or before July 2, 2010, in which to file pretrial motions pursuant to the progression order.

The ends of justice have been served by granting such motion and outweigh the interests of the

public and the defendant in a speedy trial. The additional time arising as a result of the granting of

the motion, i.e., the time between June 17, 2010 and July 2, 2010, shall be deemed excludable time

in any computation of time under the requirement of the Speedy Trial Act for the reason defendant's

counsel requires additional time to adequately prepare the case, taking into consideration due

diligence of counsel, and the novelty and complexity of this case. The failure to grant additional time

might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).

       DATED this 17th day of June, 2010.



                                                       BY THE COURT:

                                                       s/Thomas D. Thalken
                                                       United States Magistrate Judge
